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         WWE TOUR SCHEUDLE (APRIL 2018 - MARCH 2019)

                 ***ALL DATES SUBJECT TO CHANGE***

  Date         Venue
04/11/2018     Full Sail University ,Orlando,FL
04/13/2018     Venice Community Center,Venice,FL
04/14/2018     Cocoa Armory,Cocoa Beach,FL
04/16/2018     XL Center,Hartford,CT
04/17/2018     Dunkin Donuts Center ,Providence,RI
04/19/2018     The Anthem ,Washington,DC
04/19/2018     Sanford Civic Center,Sanford,FL
04/20/2018     Sands Event Center,Bethlehem,PA
04/20/2018     Jacksonville Armory,Jacksonville,FL
04/21/2018     Freedom Hall,Johnson City,TN
04/21/2018     Havert L. Fenn Center,Fort Pierce ,FL
04/21/2018     APG Federal Credit Union Arena,Bel Air,MD
04/22/2018     Mckenzie Arena @ UTC,Chattanooga,TN
04/22/2018     Cambria County War Memorial Arena - NXT,Johnstown,PA
04/23/2018     Scottrade Center,St. Louis,MO
04/23/2018     E.A. Diddle Arena,Bowling Green,KY
04/24/2018     KFC Yum Center,Louisville,KY
04/26/2018     Englewood Neighborhood Center,Orlando,FL
04/27/2018     MLK Center,Gainesville,FL
04/28/2018     Minnreg Hall,Largo,FL
05/03/2018     Bartow Armory,Bartow,FL
05/04/2018     Crystal River Armory,Crystal River,FL
05/05/2018     Midtown Cultural & Education Center,Daytona Beach,FL
05/06/2018     Prudential Center,Newark,NJ
05/07/2018     PPL Center,Allentown,PA
05/07/2018     Nassau Coliseum,Uniondale,NY
05/08/2018     Royal Farms Arena,Baltimore,MD
05/09/2018     Full Sail University ,Orlando,FL
05/10/2018     Full Sail University ,Orlando,FL
05/11/2018     Hilton Ocala ,Ocala,FL
05/12/2018     Citrus Springs Community Center,Dunnellon,FL




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05/17/2018   Lakeland Armory,Lakeland,FL
05/17/2018   The Criterion,Oklahoma City,OK
05/18/2018   Jacksonville Armory,Jacksonville,FL
05/18/2018   South Side Ballroom,Dallas,TX
05/19/2018   Aztec Theatre,San Antonio,TX
05/19/2018   Venice Community Center,Venice,FL
05/20/2018   Revention Music Center,Houston,TX
05/21/2018   Times Union Center,Albany,NY
05/22/2018   DCU Center,Worcester,MA
05/24/2018   Cocoa Armory,Cocoa Beach,FL
05/25/2018   Minnreg Hall,Largo,FL
05/26/2018   Englewood Neighborhood Center,Orlando,FL
05/27/2018   Hampton Coliseum,Hampton,VA
05/28/2018   The Coliseum,Richmond,VA
05/28/2018   Crown Coliseum,Fayetteville,NC
05/29/2018   PNC Arena,Raleigh,NC
05/31/2018   UACDC Complex,Tampa,FL
06/01/2018   Highlands Today Center,Sebring ,FL
06/01/2018   Rapides Coliseum,Alexandria,LA
06/02/2018   Raising Cane’s River Center ,Baton Rouge,LA
06/02/2018   Extraco Events Center,Waco,TX
06/02/2018   Havert L. Fenn Center,Fort Pierce ,FL
06/03/2018   Lake Charles Civic Center,Lake Charles,LA
06/03/2018   College Park Center,Arlington,TX
06/04/2018   Toyota Center,Houston,TX
06/04/2018   Laredo Energy Arena,Laredo,TX
06/05/2018   American Bank Center Arena,Corpus Christi,TX
06/08/2018   Mississippi St. Fair Coliseum,Jackson,MS
06/09/2018   Von Braun Civic Center,Huntsville,AL
06/09/2018   Monroe Civic Center,Monroe,LA
06/10/2018   CenturyLink Center,Bossier City,LA
06/10/2018   Bancorpsouth Arena,Tupelo,MS
06/11/2018   Verizon Arena,North Little Rock,AR
06/11/2018   First National Bank Arena,Jonesboro,AR
06/12/2018   Fedexforum,Memphis,TN
06/14/2018   Broadbent Arena - NXT,Louisville,KY
06/15/2018   Old National Events Plaza,Evansville,IN




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06/15/2018   Peoria Civic Center,Peoria,IL
06/16/2018   Allstate Arena - NXT,Chicago,IL
06/16/2018   Dubuque Five Flags Center,Dubuque,IA
06/16/2018   State Farm Center,Champaign,IL
06/17/2018   Allstate Arena,Chicago,IL
06/18/2018   Van Andel Arena,Grand Rapids,MI
06/18/2018   Allen County War Mem. Coliseum,Fort Wayne,IN
06/19/2018   Huntington Center,Toledo,OH
06/21/2018   Full Sail University ,Orlando,FL
06/22/2018   Venice Community Center,Venice,FL
06/22/2018   Taco Bell Arena @ Boise State,Boise,ID
06/23/2018   Maverik Center,Salt Lake City,UT
06/23/2018   Tingley Coliseum,Albuquerque,NM
06/23/2018   Minnreg Hall,Largo,FL
06/24/2018   Honda Center,Anaheim,CA
06/24/2018   Save Mart Center,Fresno,CA
06/25/2018   Valley View Casino Center,San Diego,CA
06/25/2018   Rabobank Arena,Bakersfield,CA
06/26/2018   Citizens Business Bank Arena,Ontario,CA
06/29/2018   Rushmore Plaza Civic Center,Rapid City,SD
06/29/2018   Englewood Neighborhood Center,Orlando,FL
06/30/2018   Cocoa Armory,Cocoa Beach,FL
06/30/2018   Bismarck Civic Center,Bismarck,ND
07/01/2018   Fargodome,Fargo,ND
07/02/2018   Denny Sanford Premier Center,Sioux Falls,SD
07/03/2018   CenturyLink Center Omaha,Omaha,NE
07/06/2018   Wells Fargo Center,Philadelphia,PA
07/07/2018   Madison Square Garden,New York,NY
07/08/2018   Webster Bank Arena at Harbor Yard,Bridgeport,CT
07/09/2018   T.D. Garden,Boston,MA
07/09/2018   Augusta Civic Center,Augusta,ME
07/10/2018   SNHU Arena,Manchester,NH
07/13/2018   Charleston Civic Center Coliseum,Charleston,WV
07/14/2018   Canton Mem Civic Cntr,Canton,OH
07/14/2018   Wesbanco Arena,Wheeling,WV
07/15/2018   PPG Paints Arena,Pittsburgh,PA
07/16/2018   Santander Arena,Reading,PA




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07/16/2018   KeyBank Center,Buffalo,NY
07/17/2018   Mohegan Sun Arena @ Casey Plaza,Wilkes Barre,PA
07/18/2018   Full Sail University ,Orlando,FL
07/21/2018   Chaifetz Arena,St. Louis,MO
07/22/2018   Eastern KY Expo Center,Pikeville,KY
07/22/2018   Bank of Springfield Center,Springfield,IL
07/23/2018   U.S. Bank Arena,Cincinnati,OH
07/23/2018   SIU Arena,Carbondale,IL
07/24/2018   Ford Center Evansville,Evansville,IN
07/28/2018   Wildwoods Convention Center,Wildwood,NJ
07/29/2018   Westchester County Center,White Plains,NY
07/30/2018   Amway Center,Orlando,FL
07/30/2018   Germain Arena,Fort Myers,FL
07/31/2018   American Airlines Arena,Miami,FL
08/03/2018   James Brown Arena,Augusta,GA
08/04/2018   Pensacola Bay Center,Pensacola,FL
08/04/2018   North Charleston Coliseum,North Charleston,SC
08/05/2018   Savannah Civic Center,Savannah,GA
08/05/2018   Albany Civic Center,Albany,GA
08/06/2018   Stephen C. Oconnell Center,Gainesville,FL
08/06/2018   Veteran's Memorial Arena,Jacksonville,FL
08/07/2018   Amalie Arena,Tampa,FL
08/10/2018   WYCC,Salisbury,MD
08/11/2018   Norfolk Scope Arena,Norfolk,VA
08/11/2018   Duplin County Events Center,Kenansville,NC
08/12/2018   Berglund Center Coliseum,Roanoke,VA
08/12/2018   Florence Civic Center,Florence,SC
08/13/2018   Greensboro Coliseum ,Greensboro,NC
08/13/2018   Colonial Life Arena,Columbia,SC
08/14/2018   Bon Secours Wellness Arena,Greenville,SC
08/18/2018   Barlcays Center NXT,Brooklyn,NY
08/19/2018   Barclays Center,Brooklyn,NY
08/20/2018   Barclays Center,Brooklyn,NY
08/21/2018   Barclays Center,Brooklyn,NY
08/23/2018   Full Sail University ,Orlando,FL
08/26/2018   Blue Cross Arena,Rochester,NY
09/01/2018   Wright State University's Nutter Center ,Dayton,OH




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09/01/2018   Mercedez Benz Arena,Shanghai,China
09/02/2018   Wings Event Center,Kalamazoo,MI
09/03/2018   Dow Event Center,Saginaw,MI
09/03/2018   Schottenstein Center,Columbus,OH
09/04/2018   Little Caesar's Arena,Detroit,MI
09/07/2018   Garret Coliseum,Montgomery,AL
09/08/2018   MS Coast Col And Conv. Center,Biloxi,MS
09/09/2018   Mobile Civic Center,Mobile,AL
09/10/2018   Smoothie King Center,New Orleans,LA
09/10/2018   Ford Arena,Beaumont,TX
09/11/2018   Cajundome,Lafayette,LA
09/16/2018   AT&T Center,San Antonio,TX
09/17/2018   Taylor County Coliseum,Abilene,TX
09/17/2018   American Airlines Center,Dallas,TX
09/18/2018   Chesapeake Energy Arena ,Oklahoma City,OK
09/20/2018   Full Sail University ,Orlando,FL
09/23/2018   Casper Events Center,Casper,WY
09/23/2018   Budweiser Events Center,Loveland,CO
09/24/2018   Pepsi Center,Denver,CO
09/24/2018   World Arena,Colorado Springs,CO
09/25/2018   Pepsi Center,Denver,CO
10/01/2018   Key Arena,Seattle,WA
10/01/2018   Sundome,Yakima,WA
10/02/2018   Moda Center,Portland,OR
10/07/2018   Hammond Civic Center,Hammond,IN
10/08/2018   KFC Yum Center,Louisville,KY
10/08/2018   Allstate Arena,Chicago,IL
10/09/2018   Bankers Life Fieldhouse,Indianapolis,IN
10/15/2018   Wells Fargo Center,Philadelphia,PA
10/16/2018   Capital One Arena,Washington,DC
10/17/2018   Full Sail University ,Orlando,FL
10/21/2018   T.D. Garden,Boston,MA
10/22/2018   Dunkin Donuts Center ,Providence,RI
10/23/2018   Prudential Center,Newark,NJ
10/29/2018   Spectrum Center,Charlotte,NC
10/30/2018   Philips Arena,Atlanta,GA
11/12/2018   Sprint Center,Kansas City,MO




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11/13/2018   Scottrade Center,St. Louis,MO
11/15/2018   SJSU Event Center,San Jose,CA
11/16/2018   Visalia Convention Center - NXT,Visalia,CA
11/17/2018   Staples Center - NXT,Los Angeles,CA
11/18/2018   Staples Center,Los Angeles,CA
11/19/2018   Staples Center,Los Angeles,CA
11/20/2018   Staples Center,Los Angeles,CA
11/26/2018   Milwaukee Bucks Arena,Milwaukee,WI
11/27/2018   Target Center,Minneapolis,MN
11/28/2018   Full Sail University ,Orlando,FL
12/03/2018   Toyota Center,Houston,TX
12/04/2018   Frank Erwin Center,Austin,TX
12/10/2018   T-Mobile Arena,Las Vegas,NV
12/10/2018   Valley View Casino Center,San Diego,CA
12/16/2018   SAP Center ,San Jose,CA
12/17/2018   Golden 1 Center,Sacramento,CA
12/17/2018   Stockton Arena,Stockton,CA
12/18/2018   Save Mart Center,Fresno,CA
12/26/2018   Allstate Arena,Chicago,IL
12/26/2018   Madison Square Garden,New York,NY
12/27/2018   Little Caesar's Arena,Detroit,MI
12/27/2018   Nassau Coliseum,Uniondale,NY
12/28/2018   Quickens Loans Arena,Cleveland,OH
12/28/2018   Royal Farms Arena,Baltimore,MD
12/29/2018   Key Bank Center,Buffalo,NY
12/29/2018   PPG Paints Arena,Pittsburgh,PA
12/30/2018   Amalie Arena,Tampa,FL
 1/7/2019    Bridgestone Arena,Nashville,TN
 1/8/2019    Legacy Arena,Birmingham,AL
 1/14/2019   Fedexforum,Memphis,TN
 1/15/2019   Verizon Arena,North Little Rock,AR
 1/21/2019   American Airlines Center,Dallas,TX
 1/22/2019   American Airlines Center,Dallas,TX
 1/26/2019   Talking Stick Resort Arena,Phoenix,AZ
 1/27/2019   Chase Field,Phoenix,AZ
 1/28/2019   Talking Stick Resort Arena,Phoenix,AZ
 1/29/2019   Talking Stick Resort Arena,Phoenix,AZ




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2/4/2019    Moda Center,Portland,OR
2/5/2019    Tacomadome,Tacoma,WA
2/11/2019   Centurylink Center,Omaha,NE
2/12/2019   Wells Fargo Arena,Des Moines,IA
2/18/2019   Amway Center,Orlando,FL
2/19/2019   Veteran's Memorial Arena,Jacksonville,FL
2/25/2019   Philips Arena,Atlanta,GA
2/26/2019   Thompson/Boling Assembly Arena,Knoxville,TN
3/4/2019    Wells Fargo Center,Philadelphia,PA
3/5/2019    Capital One Arena,Washington,DC
3/11/2019   Key Bank Center,Buffalo,NY
3/12/2019   Times Union Center,Albany,NY
3/18/2019   Allstate Arena,Chicago,IL
3/19/2019   Little Caesar's Arena,Detroit,MI
3/25/2019   PPG Paints Arena,Pittsburgh,PA
3/26/2019   Quickens Loans Arena,Cleveland,OH




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